             Case 2:19-cv-01773-JFW-MAA                            Document 1-1                 Filed 03/11/19             Page 1 of 3 Page ID
                                         UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                    #:20                                                                 ~~     p R I G I IVi-~ L
                                                              CIVIL COVER SHEET
I.(a) PLAINTIFFS (Check box if you are representing yourself ~ )                       DEFENDANTS            (Check box if you are representing yourself ~ )
                                                                                        THOMAS SHEPOS, FRANK A. VISCO, ET AL., DONALD G. ABBEY, ET AL., ARMAN
 LOS ANGELES COUNTY,THE STATE OF CALIFORNIA and THE UNITED STATES OF
                                                                                        GABAEE, ET AL., MARK GABAEE, ET AL., LEON NEMAN,ET AL., MORAD NEMAN,ET AL.,
 AMERICA ex rel. Karen Gluck
                                                                                        YOEL NEMAN, ET AL., JOHN NEMAN, ET AL., DAVID SCHAEFFER, ET AL., [...]

(b) County of Residence of First Listed Plaintiff Los Angeles                          County of Residence of First Listed Defendant                  Los Angeles
(EXCEPT IN U.S. PLAINTIFF CASES)                                                       (IN U.S. PLAINTIFF CASES ONLY)

(C) Attorneys (Firm Name,Address and Telephone Number) If you are                      Attorneys (Firm Name,Address and Telephone Number) If you are
representing yourself, provide the same information.                                   representing yourself, provide the same information.
 A manda Bonn, BUSMAN GODFREY L.L.P., 1900 Avenue of the Stars, Suite 1400 Los
 Angeles, CA 90067 Telephone (310) 789-3100



II. BASIS OF JURISDICTION (Place an X in one box only.)                        III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                    (Place an X in one box for plaintiff and one for defendant)
                                                                                                          PTF    DEF                                           PTF DEF
      1. U.S. Government            ~ 3. Federal Question (U.S.                                                          Incorporated or Principal Place
                                                                               Citizen of This State      ❑ ~    ❑ ~     of Business in this State             ❑ 4 ~ 4
     Plaintiff                          Government Not a Party)
                                                                               Citizen of Another State   ~ 2 ~ 2 Incorporated and Principal Place             ~ 5 ~ 5
                                                                                                                  of Business in Another State
     2. U.S. Government             ~4. Diversity (Indicate Citizenship        Citizen or Subject of a    ❑ 3 ~ 3 Foreign Nation                               ~ 6 ~ 6
     Defendant                       of Parties in Item III)                   Foreign Country


IV. ORIGIN (Place an X in one box only.)                                                                                                                  s. Multidistrict
                                                                                                                                 6. Multidistrict
 X    7, Original   2. Removed from  3. Remanded from ❑ 4. Reinstated or ❑ 5. Transferred from Another ❑                            Litigation -      ~     Litigation -
        Proceeding ~ State Court    ~ Appellate Court     Reopened            District (Specify)                                    Transfer                Direct File


V.REQUESTED IN COMPLAINT: JURY DEMAND: ~X Yes ~ No                                       (Check "Yes" only if demanded in complaint.)

CLA55 ACTION under F.R.Cv.P. 23:                    ~ Yes ~X No                     ~X MONEY DEMANDED IN COMPLAINT: $Amount TBD
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not citejurisdictionalstatutes unless diversity.)
31 U.S. Code ~~ 3729-3730; California Government Code § 72651


VII. NATURE OF SUIT (Place an X in one box only).
      OTHER STATUTES                CONTRACT            REAL PROPERTY tONT.            IMMIGRATION            PRISONER PETITIONS                    PROPERTY RIGHTS

     375 False Claims Act    ❑ 110 Insurance           ~ 240 Torts to Land       ~ 462 Naturalization             Habeas Corpus:          ~ 820 Copyrights
                                                                                   A pplication
     376 Qui Tam             ❑ 120 Marine               ❑ 245 Tort Product                             ~ 463 Alien Detainee               ~ 830 Patent
                                                           Liability               465 Other             510 Motions to Vacate
     (31 USC 3729(a))                                                            ~ Immigration Actions ❑ Sentence                           835 Patent -Abbreviated
                                   130 Miller Act       ~ 290 All Other Real
     400 State                                            Property                      TORTS          ~ 530 General                      ~ New Drug Application
                               140 Negotiable
     Reapportionment         ❑ Instrument             '         TORTS            PERSONAL PROPERTY ❑ 535 Death Penalty                    ~ 840 Trademark
     410 Antitrust           150 Recovery of             PERSONAL INJURY                                                                            SOCIAL SECURITY
                                                                                 ~ 370 Other Fraud                      Other:
     430 Banks and Banking ~ overpayment &             ~ 310 Airplane
                                                                                                                                          U 861 HIA (1395f~
                             Enforcement of                                      ~ 371 Truth in Lending ~ 540 Mandamus/Other
                                                 315 Airplane
     450 Commerce/ICC        Judgment          ❑ Product Liability                                                                        ❑ 862 Black Lung (923)
     Rates/Etc.                                                                    380 Other Personal   ❑ 550 Civil Rig hts
                           ❑ ~ 51 Medicare Act ~ 320 Assault, Libel &            ~ Property Damage         ~ 555 Prison Condition         ~ 863 DIWC/DIWW (405 (g))
     460 Deportation                             Slander
   470 Racketeerinflu-        152 Recovery of                                      385 ProPertY Dama9e   560 Civil Detainee               ❑ 864 SSID Title XVI
                                                 330 Fed. Employers'             ❑ product LiabilitY   ❑ Conditions of
❑ enced & Corru pt Or9.    ~ Defaulted Student ❑ Liabilit
                              Loan (Exd. Vet.)           Y                          BANKRUPTCY           Confinement                      ❑ 865 RSI (405 (g))
❑ 480  Consumer   Credit                       ~ 340 Marine
                                                                                 ~ 422 Appeal 28              FORFEITURE/PENALTY                    FEDERAL TAX SUITS
❑ 490 Cable/Sat N            153 Recovery of     345 Marine Product
                             Overpayment of    ❑ Liability                         USC 158                   625 Drug Related               870 Taxes (U.S. Plaintiff or
  850 Securities/Com-        Vet. Benefits                                         423 Withdrawal 28       ~ Seizure of Property 21       ❑ Defendant)
   modifies/Exchange                           ~ 350 Motor Vehicle               ~ USC 157                   USC 881
                             160 Stockholders'                                                                                              g71 IRS-Third Party 26 USC
   890 Other Statutory     ❑ Suits             ~ 355 Motor Vehicle                  CIVIL RIGHTS           ~ 690 Other                      7609
   Actions                                       Product Liability
                                                                                                                     LABOR
   891 Agricultural Acts
                              190 Other          360 Other Personal              ❑ 440 Other Civil Rights
                             Contract          ❑ Injury                          ~ 441 Voting             ~ X10   Fair Labor Standards
  893 Environmental                                                                                         Act
                             195 Contract        362 Personal Injury
   Matters                                                                       ❑ 442 Employment         ~ 7~0 Labor/Mgmt.
                             Product Liability ~ Med Malpratice
  895 Freedom of Info.                                                             443 Housing/             Relations
❑ Act                      ❑ 196 Franchise
                                                 365 Personal Injury-
                                               ~ Product Liability               ~ Accommodations
                                                                                                          ~ 740 Railway Labor Act
                            REAL PROPERTY                                          445 American with
❑ 896 Arbitration                                367 Health Care/
                             210 Land            Pharmaceutical                  ❑ Disabilities-          ~ 751 FamilY and Medical
  899 Admin. Procedures ~ Condemnation                                             E mployment              Leave Act
                                               ~ Personal Injury
  Act/Review of Appeal of                        Product Liabilit                  446 American with        790 Other Labor
  Agency Decision          ❑ zz0 Foreclosure                      y
                                                 368 Asbestos                    ~ Disabilities-Other     ~ Liti9ation
  950 Constitutionality of ~ 230 Rent  Lease & ~ personal Injury                 ~ 448 Education          ~ X91 Employee Ret. Inc.
  State Statutes             Ejectment           Produc Liab' 't                                                curity Act


FOR OFFICE USE ONLY:                     Case Number:                                                                    ~~~ y~~
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                                                                                 CIVIL COVER SHEET


VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Courts General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
                                                                   STATE CASE WAS PENDING IN THE COUNTY OF:                                     INITIAL DIVI510N IN CACD I5:
from state court?
               Yes ~x No
                                                   Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                                  Western
If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the         ❑ Orange                                                                                                  Southern
corresponding division in response to
                                                            or San Bernardino                                                                               Eastern
Question E, below, and continue from there. ❑ Riverside


                                                -                 -                                                   -       ---                                    -           -
QUESTION B: Is the United States, or B•1 • Do 50% or more of the defendants who reside in                       YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees,a   the  district reside in Orange Co.?                                      ~ Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                       from there.
                                     check one ofthe boxes to the right  ~~
              0 Yes       ~ No                                                                                Q NO. Continue to Question 6.2.

                                                  B.2. Do 50% or more of the defendants who reside in           YES. Your case will initially be assigned to the Eastern Division.
If "no," skip to Question C. If "yes," answer     the district reside in Riverside and/or San Bernardino      ~ Enter "Eastern" in response to Question E, below, and continue
Question 6.1, at right.                           Counties? (Consider the two counties together.)                   from there.

                                                  check one of the boxes to the nigh[   ~►                          NO. Your case will initially be assigned to the Western Division.
                                                                                                                    Enter "Western" in response to Question E, below, and continue
                                                                                                                    From there.


QUESTION C: IS the United States, or C.1. Do 50% or more of the plaintiffs who reside in the                    YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                                           ~ Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                       from there.
                                     check one of the boxes to the right   ~1
                 Yes ~ No                                                                                     ~ NO. Continue to Question C.2.

                                                  G.2. Do 50% or more of the plaintiffs who reside in the       YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer    district reside in Riverside and/or San Bernardino          ~ Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                           Counties? (Consider the two counties together.)               from there.

                                                  check one of fhe boxes to the right   ~~                          NO. Your case will initially be assigned to the Western Division.
                                                                                                                    Enter "Western" in response to Question E, below, and continue
                                                                                                                    from there.
             --                                                                                                A.                            B.                            C.
                                                                                                                                    Iii ~erside or San         Los Anyel2s, Ventura,
QUESTION. D: Location of plaintiffs and defendants?                                                   ~~,;,,, ~,. County          ~' ~ nardino County          Santa Barbara, or San
                                                                                                                                                                Luis Obispo Count~.~

Indicate the locations) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

Indicate the locations) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices                             ~                             ❑                              0
a pply.)


                  D.1. Is there at least one answer in Column A?                                             D.2. Is there at least one answer in Column B?

                                        Yes      0 No                                                                          ~ Yes          ~ No

                    If "yes," your case will initially be assigned to the                                       If "yes," your case wil l initially be assigned to the

                                 SOUTHERN DIVISION.                                                                            EASTERN DIVISION.

     Enter "Southern" in response to Question E, below, and continue from there.                                Enter "Eastern" in response to Question E, below.

                          If "no," go to question D2 to the right.          ~~                             If"no," your case will be assigned to the WESTERN DIVISION.

                                                                                                               Enter "Western" in response to Question E, below.                 .,,


QUESTION E: Initial Division?                                                                                              INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above: ~~                                                            Western

QUESTION F: Northern Counties?

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                             ~ Yes             ~X No

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 IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                  0 NO                       YES

         If yes, list case number(s):


 IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal cases) previously filed in this court?
                                                                                                                                               X NO
                                                                                                                                               ~                          YES
         If yes, list case number(s):



         Civil cases are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

         Note: That cases may involve the same patent,trademark, or copyright is not, in itself, sufficient to deem cases related.



         A civil forfeiture case and a criminal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by different judges.


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): Amanda Bonn                                                                                         DATE: 03/11/2019

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet(CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                  (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.(30 U.S.C.
                                                   923)

                                                   All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
        863                       DIWC
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

                                                   All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                       DIWW
                                                   a mended.(42 U.S.C. 405 (g))

                                                   All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
        864                       SSID
                                                   a mended.


        865                       R51              All claims for retirement (old age)and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                  (42 U.S.C. 405 (g))




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